                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS

                                                  §
 Mikayla Cheyenne Savage,                         §
                                                  §
                       Plaintiff,                 §
                                                  §
 v.                                               §
                                                  §   Civil Action No. 4:24-cv-00666
 Harris County, Texas; Sheriff Ed Gonzales,       §
 in his official capacity; Detention Officer A.   §
 Martinez, in his individual capacity;            §
 Detention Officer A. Roda, in his individual     §
 capacity; Detention Officer Matthews, in his     §
 individual capacity; Officers Does #1-28, in     §
 their individual capacities; and Does #29-30,    §
 in their individual capacities,                  §
                                                  §
                  Defendants.



  PLAINTIFF’S FIRST SET OF INTERROGATORIES DIRECTED TO DEFENDANT
           HARRIS COUNTY, TEXAS AND SHERIFF ED GONZALES

       Pursuant to Rule 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff propounds

the following Interrogatories to be answered by Defendants Harris County, Texas (“Harris

County”) and/or Sheriff Ed Gonzales (“Gonzales”) under oath and in accordance with the

instructions below. Plaintiff respectfully requests that this Court order Defendants Harris County

and Gonzales to produce a response within two (2) weeks.

                                        INSTRUCTIONS

       1.      In answering these Interrogatories, furnish all available information, including

information in the possession, custody, or control of Harris County’s and/or Gonzales’s attorneys,

agents, employees, representatives and persons under Harris County’s or Gonzales’s control, who

have the best knowledge, not merely information known to Harris County and Gonzales based on

their own personal knowledge.


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                                                                                   Exhibit B
       2.      If Harris County or Gonzales cannot answer any of the Interrogatories in full after

exercising due diligence to secure the necessary information, so state and answer to the extent

possible, specifying Harris County’s and Gonzales’s inability to answer the remainder and stating

whatever information or knowledge Harris County and Gonzales have concerning the unanswered

portions.

       3.      Each and every Interrogatory is to be answered separately and as completely as

possible. Continuing investigations or incomplete discovery shall not be accepted as a reason for

failure to answer each and every Interrogatory as fully as possible.

       4.      If Harris County or Gonzales contends that any of the information or materials

sought are privileged, identify with particularity the basis for the assertion of such claim, including

the nature of the privilege asserted and the subject matter to which Harris County or Gonzales

claims privilege relates (subject to any other agreement between the parties concerning privilege

log contents and preparation). In the case of information other than documents, supply the name

of the Person (as defined below) from whom such information was obtained and the name of any

other Person to whom such information was communicated. In the case of a document, provide

the date on which it was produced, transmitted, distributed, or otherwise provided; the nature of

the document; the title of the document, if any; the sender or author; the recipient; and persons to

whom copies were furnished together with their employment titles.

       5.      If Harris County or Gonzales objects to any Interrogatory, state with specificity the

grounds for such objection. Any Interrogatory to which an objection is made should be responded

to insofar as it is not deemed objectionable.

       6.      If objection is made to a portion of any Interrogatory, Harris County or Gonzales

must answer all other portions of the Interrogatory as to which no objection is raised.




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        7.      If Harris County or Gonzales encounters an ambiguity in construing an

Interrogatory, instruction, or definition, set forth the matter deemed ambiguous, and the

construction chosen or used in answering such Interrogatory.

        8.      Unless stated otherwise, the time period governing these Interrogatories is June 2,

2022, to the present.

        9.      Harris County’s and Gonzales’s obligation to respond to these Interrogatories is

continuing and must be supplemented to include subsequently acquired information or knowledge

in accordance with Federal Rule of Civil Procedure Rule 26(e).

                                          DEFINITIONS

        1.      “Action” means the above-captioned litigation matter.

        2.      “Complaint” means Plaintiffs’ Original Complaint (ECF 1) filed in this Action on

or about February 26, 2024.

        3.      “Person” shall include both natural persons, corporate or other business entities,

and all other forms of legal entities.

        4.      Any capitalized terms used but not defined herein shall have the same meaning as

assigned to them in the Complaint.

        5.      The term “Identify” means to state:

                a.      in the case of a natural person, his or her full name, badge number, business

or personal address and telephone number, employer, and title or position.

                b.      in the case of a document, the title of the document, the author, the title or

position of the author, the addressee, each recipient, the type of document, the subject matter, the

date of preparation, and its number of pages.




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                                    INTERROGATORIES

       1.      Identify the full names, badge numbers, and current or last known job titles and

contact information for the following individuals, as described in the Complaint:

               a.     Officer A. Martinez.

               b.     Officer A. Roda.

       2.      Identify the person(s) listed as Doe Defendants in the following paragraphs of the

Complaint:

               a.     Identify Does #1–9 in paragraph 21.

               b.     Identify Does #10–26 in paragraph 22.

               c.     Identify Does #27–28 in paragraph 23.

               d.     Identify Does #29–30 in paragraph 24.

               e.     Identify Does #1–2 in paragraph 56.

               f.     Identify Does #1–3 in paragraph 57.

               g.     Identify Does #4–5 in paragraph 59.

               h.     Identify Does #6–7 in paragraph 60.

               i.     Identify Does #1–9 and #27–28 in paragraph 64.

               j.     Identify Does #8–9 in paragraph 69.

               k.     Identify Does #10–25 in paragraph 82.

               l.     Identify Does #10–11 in paragraph 83.

               m.     Identify Does #12–13 in paragraph 84.

               n.     Identify Does #14–19 in paragraph 86.

               o.     Identify Doe #20 in paragraph 87.

               p.     Identify Doe #21 in paragraph 89.

               q.     Identify Doe #21 in paragraph 91.


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r.   Identify Does #22–23 in paragraph 94.

s.   Identify Does #24–25 in paragraph 99.

t.   Identify Doe #26 in paragraph 100.

u.   Identify Does #1–26 in paragraph 101.

v.   Identify Does #29–30 in paragraph 110.

w.   Identify Does #10–26 in paragraph 139.

x.   Identify Does #1–9 in paragraph 150.

y.   Identify Does #1–9 in paragraph 152.

z.   Identify Does #1–9 in paragraph 153.




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Dated: March 26, 2024   Respectfully submitted,

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